       2:18-cr-20014-SLD-EIL # 65         Page 1 of 3                                          E-FILED
                                                               Thursday, 28 February, 2019 01:44:56 PM
                                                                          Clerk, U.S. District Court, ILCD

                      IN THE UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF ILLINOIS
                               URBANA DIVISION

UNITED STATES OF AMERICA,                      )
                                               )
         Plaintiff,                            )
                                               )
vs.                                            )
                                               )
MICHAEL HARI,                                  )
                                               )
         Defendant.                            )        Case No. 18-CR-20014

               DEFENDANT’S MOTION TO ALLOW DEFENDANT
                  TO APPEAR VIA VIDEO CONFERENCING

         Defendant, Michael Hari, by and through his attorney, ELISABETH R.

POLLOCK of the Federal Defender’s Office for the Central District of Illinois,

requests that the Court allow Defendant Michael Hari to appear via

videoconference at the pretrial set for Friday, March 1, 2019, at 9:45 am CST, and

in support thereof states as follows:

      1. On May 2, 2018, a Superseding Indictment was filed against Michael Hari.

         (R. 39) in the Central District of Illinois.

      2. On June 20, 2018, an Indictment was filed against Michael Hari (R. 14) in

         the District Court of Minnesota, case number 18-cr-00150.

      3. On January 9, 2019, this Court set a pretrial conference on March 1, 2019, at

         9:45 am.
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   4. On February 8, 2019, the District Court of Minnesota denied Hari’s motion

      to quash or stay writ of habeas corpus that would allow him to stay in

      Illinois to await charges in this district.

   5. On or around February 10, 2019, Defendant Michael Hari was transported

      by the U.S. Marshal Service to Minnesota to be arraigned on those charges.

   6. Defendant Michael Hari is still in Minnesota and has not been transported

      back to Illinois for the pretrial conference.

   7. Defendant Michael Hari has a status hearing in Minnesota on March 8,

      2019.

      WHEREFORE, Defendant Michael Hari respectfully requests that this

Court grant the Motion to allow Defendant to appear via videoconference on

Friday, March 1, 2019.

                                                    Respectfully submitted,

                                                    MICHAEL HARI, Defendant

                                           By:      /s/ Elisabeth R. Pollock
                                                    ELISABETH R. POLLOCK
                                                    Assistant Federal Defender
                                                    300 W. Main Street
                                                    Urbana, IL 61801
                                                    (217) 373-0666
                                                    Elisabeth_Pollock@fd.org




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                           CERTIFICATE OF SERVICE

       I hereby certify that on February 28, 2019, I electronically filed the

foregoing with the Clerk of the Court using the CM/ECF system. Notice of this

filing will be sent by operation of the Court’s electronic filing system to all parties

indicated on the electronic filing receipt. Parties may access this filing through

the Court’s system.

                                                  /s/ Elisabeth R. Pollock
                                                  Assistant Federal Defender
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                                                  Urbana, IL 61801
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